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EXHIBIT A
Carolyn Pravlik declaration
dated August 23, 2017

 

 

 

 
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

RICA GATORE, et al.,
Plaintiffs,
v. Civil Action No. 15-CV-459 (RBW)

U.S. DEPARTMENT OF HOMELAND
SECURITY,

Defendant.

Neen? Neue Nene Nome” Nee Nee! Nee” Neue” Nee” Nee tee”

 

AFFIDAVIT OF CAROLYN SMITH PRAVLIK

I, Carolyn Smith Pravlik, hereby depose and state:

1. I ama partner with Terris, Pravlik & Millian, LLP (“TPM”). Since joining the firm
in 1981, all of my work has been in complex federal litigation. TPM has highly-specialized
knowledge in the litigation of fees, particularly fee litigation issues in the District of Columbia
Circuit. The firm has been litigating fee issues under many fee-shifting statutes, particularly
environmental and civil rights statutes, since it was founded. I have been litigating fee issues,
particularly the issue of reasonable hourly rates on behalf of TPM’s clients, since 1981, prior to
the establishment of the Laffey Matrix (see paras. 5-7 below).

2. I have been asked by David Cleveland, plaintiffs’ counsel in the above-captioned
case, to prepare this affidavit regarding the competing matrices of attorneys’ hourly rates in the
District. This affidavit describes the matrices and summarizes the evidence TPM has compiled to

demonstrate that the LSI Laffey Matrix better reflects the prevailing market rates in the District of
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Columbia for complex federal litigation than the USAO Matrix 2015-2017 or the USAO Laffey
Matrix.!
TPM’S RECENT EXPERIENCE LITIGATING MARKET RATES IN
SALAZAR vy. DISTRICT OF COLUMBIA AND
DL v. DISTRICT OF COLUMBIA

3. TPM is counsel for plaintiffs in Salazar v. District of Columbia, D.D.C. Case No.
93-cv-452, a long-standing class action in which, in 2015, the court of appeals affirmed a fee award
based on the rates evidence presented by the plaintiffs and found no fault with the district court’s
conclusion “that ‘the LSI-adjusted [Laffey] matrix is probably a conservative estimate of the actual
cost of legal services in this area.”” 809 F.3d 58, 65 (D.C. Cir. 2015) (emphasis in original; citation
omitted).

4. TPM is also counsel for plaintiffs in DL v. District of Columbia, D.D.C. Case
Number 05-cv-1437 (RCL), another long-standing class action in the which the plaintiffs’ fee
application is currently pending. See DE Docket, ECF Nos. 537, 554, 564, 566, 571, 574. Hourly
rates have been heavily disputed in that case. For the DL case, TPM updated and expanded upon
the rates evidence presented in Salazar. The relevant DL rates evidence is presented here as
exhibits submitted with this affidavit. I have included a list of those exhibits at the end of this
affidavit. All of the exhibits relate to the fee matrices or market rates in the District. The numbers

for the exhibits referenced herein (e.g., Pl. Ex. 1) are the exhibit numbers used in the DZ litigation.

Although the DZ exhibit numbers range from 1 to 124, not all of the exhibits are presented here.

 

1 The LSI Laffey Matrix is the Laffey Matrix updated using the Legal Services Index (LSD
component of the Consumer Price Index (CPI). The USAO Laffey Matrix is the Laffey Matrix
updated using the All-Items Regional CPI. The USAO Matrix 2015-2017 is the new matrix
adopted by the USAO in 2015 which is based on entirely different data as addressed in paragraph
9 below.
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MATRICES OF ATTORNEYS’ RATES IN
THE DISTRICT OF COLUMBIA

a When considering fee applications, this court has for years relied upon the “Laffey
Matrix,” a schedule of hourly rates developed in Laffey v. Northwest Airlines, 572 F. Supp. 354
(D.D.C. 1983), affirmed in part and reversed in part on other grounds, 746 F.2d 4 (D.C. Cir. 1984),
overruled in part on other grounds, Save Our Cumberland Mountains v. Hodel, 857 F.2d 1516,
1525 (D.C. Cir. 1988) (en banc).

6. The Laffey Matrix is a composite of billing rates for firms of different sizes. It is
based on data for sole practitioners, and small, medium, and large firms. Plaintiffs’ Exhibit 30 is
the Affidavit of Daniel Rezneck in Laffey v. Northwest Airlines, and its attached exhibit. The
exhibit to the Rezneck Affidavit sets forth the data for the Laffey Matrix.2 The exhibit has 22
entities listed. See Pl. Ex. 31. In addition to larger firms—e.g., Arnold & Porter, Covington &

Burling, and Steptoe & Johnson—the following were included (ibid.):

 

 

 

 

 

 

 

 

 

 

 

 

Attorney or Firm in Size from 1982 Listing in Page in 1982
Laffey Exhibit Martindale-Hubbell? Martindale-Hubbell
(PL. Ex. 31) (Including Members, Associates and Of (Pl. Ex. 32)
Counsel)

Caplin & Drysdale 35 1162B — 1166B
Ewald, Thomas R. Sole Practitioner 1311B
Hahn, Gilbert T. (Wolf, Amram & Hahn) 6 2048B — 2049B
McDonald, Bradley G. Sole Practitioner 1630B
Miller, Cassidy, Larroca & Lewin 17 1654B - 1656B
Miller & Chevalier 57 1657B - 1662B
Nussbaum, Owen & Webster 11 1687B - 1688B
Seymour, Samuel (Seymour, Seefried & 4 1836B
Hoffman)

 

 

 

? For convenience, the exhibit is attached independent of Mr. Rezneck’s affidavit as Plaintiffs’
Exhibit 31.

* The 1982 Martindale-Hubbell Law Directory listings for these firms are set forth in Plaintiffs’
Exhibit 32.
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7. The Laffey Matrix provided market rates for complex federal litigation in
Washington, D.C., for the period from 1981 to 1982. See Laffey, supra, 572 F. Supp. at 374-375;
Pl. Ex. 30, para. 10. Subsequently, the matrix was updated through May 31, 1989, at the urging
of the court of appeals in its en banc decision in Save Our Cumberland Mountains, supra, 857
F.2d at 1525, in connection with a settlement reached on remand in that case. See, e.g., Trout v.
Bail, 705 F. Supp. 705, 709, n. 10 (D.D.C. 1989) (the updated matrix developed in Save Our
Cumberland Mountains v. Hodel “does provide an updated and accurate schedule of attorney fees
in this District”); Salazar v. District of Columbia, 123 F. Supp. 2d 8, 13 (D.D.C. 2000).

8. Two inflation indices have typically been used to update the Laffey Matrix to
present. The LSI Laffey Matrix (P1. Ex. 23) updates the 1989 Laffey Matrix (resulting from Save
Our Cumberland Mountains) using the LSI, which is an index related only to legal services. See
Pl. Ex. 1, para. 82; Pl. Ex. 27, paras. 10-13. The other inflation index is the All-Items Regional
CPI, which the USAO used to update the 1981-1982 Laffey Matrix, to yield the USAO Laffey
Matrix, which the USAO relied upon until 2015. See, e.g., Pl. Ex. 25. The differences in the
indices used produce very different updated rates. See Pl. Ex. 23; Pl. Ex. 25; Pl. Ex. 115, para. 32.
Prior to 2015, disputes regarding the Laffey Matrix generally related to the appropriateness of the
inflation index used to update the base rates to present. As explained below, since 2015, the dispute
has shifted from the indices to the base rates data.

9. The USAO stopped using the USAO Laffey Matrix in 2015. It now uses a new
baseline survey, which it explains comes from ALM Legal Intelligence’s 2010 & 2011 Survey of

Law Firm Economics.’ See Pl. Ex. 24, n. 2. As part of the DL fees litigation, I learned that the

 

* According to its website, ALM Legal Intelligence “offers detailed business information and
competitive intelligence about the legal industry * * *”
http://www.almlegalintel.com/aboutus.aspx (last visited August 23, 2017).

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base data for the USAO Matrix 2015-2017 is actually a custom report prepared for the USAO by
ALM from the 2011 ALM Survey of Law Firm Economics (“2011 ALM SLFE”) database and
therefore is only available through the United States’ release of the data under FOIA or through
litigation. See Pl. Ex. 70, paras. 4-9; Pl. Exs. 84, 88, 91. The USAO also no longer uses the All-
Items Regional CPI as its inflation index. Instead, it updates the rates in the custom report it
obtained from the 2011 ALM SLFE using the Producer Price Index — Offices of Lawyers Index
(PPI-OL). See Pl. Ex. 24, n. 2. Like the LSI, the PPI-OL is an index related only to legal services.

10. For the timeframes when the LSI and the PPI-OL indices overlap, they report
similar rates of price change for legal services. Pl. Ex. 27, para. 17. This means that when the
same hourly rate is adjusted with the LSI or the PPI-OL, the resulting hourly rate is about the same.
Ibid. The USAO’s switch to the PPI-OL from the All Items Regional CPI has shifted the dispute
from one regarding the adjustment index to one regarding the base data. Jd., para. 22.

11. The LSI Laffey Matrix rates are higher than the USAO Matrix 2015-2017 rates.
Compare PI. Ex. 23 (rates for 2016-2017) with Pl. Ex. 24 (same).

12. In many cases, the proponent of the USAO Laffey Matrix or the USAO Matrix
2015-2017 (generally the United States or the District of Columbia) has retained Dr. Laura
Malowane as an expert who has supported those matrices. Similarly, in many cases, the proponent
of the LSI Laffey Matrix has set forth expert testimony from economist Dr. Michael Kavanaugh.
Dr. Kavanaugh provided expert affidavit testimony in DL.

13. Dr. Kavanaugh explained in his April 26, 2017, declaration in DL that the custom
report of the 2011 ALM SLFE data that serves as the base for the USAO Matrix 2015-2017 is
based on average rates for all types of legal services, not just complex federal litigation. See Pl.

Ex. 78, paras. 7-16. He further explained that this data problem is exacerbated by the fact that the
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custom report of the 2011 ALM SLFE base data includes more non-complex legal services due to
its expansion of the geography beyond Washington, D.C. to include counties in Virginia, West
Virginia, and Maryland.* Ibid. Dr. Kavanaugh also rebutted other points raised by Dr. Malowane.
See generally Pl. Ex. 78. For example, he explained that Dr. Malowane is incorrect when she
states that the 2011 ALM SLFE relies upon “actual” billing rates, as opposed to standard rates. PL.
Ex. 78, para. 22. He explains that the 2011 ALM SLFE and the 2011 ALM SLFE custom report
state that they provide “Standard Hourly Billing Rates.” Ibid.

14. In DL v. District of Columbia, the United States, a non-party, filed a Statement of
Interest urging the court to select the USAO Matrix 2015-2017 over the LSI Laffey Matrix. See
ECF No. 564. The United States disputed the 1989 base rates for the LSI Laffey Matrix. See ECF
Nos. 564, 571, 574. In response, the plaintiffs there demonstrated that the 1989 Laffey Matrix has
been adopted by the courts of the D.C. Circuit as the update of the original Laffey Matrix, that it
was the updated Laffey Matrix relied upon by the court of appeals in Covington v. District of
Columbia, 57 F.3d 1101, 1105-1106, 1109-1112 (D.C. Cir. 1995), certiorari denied, 516 U.S. 1115
(1996) (setting forth the requirements for rates evidence), and that market evidence comports with

the 1989 Laffey Matrix. See Plaintiffs’ Response to the Statement of Interest of the United States,

 

> The 2011 ALM SLFE includes rates data for the District of Columbia only. Pl. Ex. 81, p. 143.
It is lacking data for some of the experience levels. Jbid. When the ninth decile rate for the top
experience level for the District of Columbia only in the 2011 ALM SLFE (ibid.) is adjusted in the
same manner as the USAO Matrix 2015-2017, it exceeds the rates in both matrices. The updated
ninth decile rate is $879 for the rate year 2016-2017. Pl. Ex. 78, para. 16. The top LSI Laffey
Matrix and USAO Matrix 2015-2017 rates for the rate year 2016-2017 are $826 and $581,
respectively. Pl. Exs. 23, 24. The ninth decile rates are those for the top 10% and Dr. Malowane
describes the top 10% rates as reflecting the rates for complex federal litigation. Pl. Ex. 78, para.
16.
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ECF No. 571. They further showed that, as of 1989, the rates in the 1989 Laffey Matrix, and the
USAO Laffey Matrix as updated through 1989, were comparable.® Jd., pp. 18-19.

COMPARISON OF MATRICES TO MARKET DATA

15. For the fee application in DL, TPM collected market data for the period from
January 2015 to September 2016 from sources which have all been recognized by the court of
appeals in Covington, supra, 57 F.3d at 1109, as appropriate sources of market data. The market
data was comprised of affidavits from attorneys familiar with the marketplace and affidavits and
other materials from fee applications in other cases. The details of the efforts to collect these data
are described in Plaintiffs’ Exhibit 1 at paragraph 88.

16. Plaintiffs’ Exhibit 48 is a summary of the market data. Additional detail is provided
in Plaintiffs’ Exhibit 47. Plaintiffs’ Exhibit 47 is a chart that sets forth the Laffey Matrix experience
levels, the LSI Laffey Matrix rates, the USAO Matrix 2015-2017 rates, the rates data from the
source exhibit, and a citation to the source exhibit where the rates information is set forth. Detail

related to the preparation of these exhibits is provided in Plaintiffs’ Exhibit 1 at paragraph 89.’

 

® In the 1990’s, the USAO Laffey Matrix stopped producing comparable rates due in part to the
geographical expansion of the All-Items Regional CPI. See Pl. Ex. 115, paras. 7, 22-23; Pl. Exs.
121, 122, 123, 124, paras. 9-11 (information regarding the geographical expansion). Due to this
and other factors, the rates in the USAO Laffey Matrix no longer reflected market rates so, in 1999,
the Salazar plaintiffs submitted their first fee application updating the 1989 Laffey Matrix using
the LSI. See Salazar, supra, 123 F. Supp. 2d at 10, 13. Thereafter, litigation over the appropriate
index for updating the matrices ensued as described in paragraph 8 above.

7 In the USAO Matrix 2015-2017, the experience levels have changed as compared to the earlier
USAO Laffey Matrix and the LSI Laffey Matrix. Compare PI. Ex. 24 (USAO Matrix 2015-2017),
with Pl. Ex. 25 (USAO Laffey Matrix) and Pl. Ex. 23 (LSI Laffey Matrix). To present the
comparison in Plaintiffs’ Exhibits 47 and 48, TPM presented the USAO Matrix 2015-2017 using
the Laffey Matrix experience levels, but using the highest USAO Matrix 2015-2017 rate applicable
to the experience level for the year. See Pl. Ex. 1, para. 89(d). For example, the Laffey Matrix has
an experience level of 20+ years (Pl. Ex. 23) and the USAO Matrix 2015-2017 has three
comparable experience levels—16-20, 21-30, and 31+ years (PI. Ex. 24}—each with a separate
hourly rate for 2016-2017—$516, $543, and $581, respectively (ibid.). For the comparison at the

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17. The market data show that the USAO Matrix 2015-2017 rates are 29.68% below
market, and the LSI Laffey Matrix is 9.36% below market, as summarized in the following tables.

See also Pl. Ex. 27, paras. 24-26.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Laffey Matrix | Average of Law | USAO Matrix | USAO Matrix | Average
Experience Firm Averages 2015-2017 2015-2017 Difference
Levels (from PI. Ex. 48, p.1) | (2016-2017 Rates) Greater
(Less)
20% $8428 $581 -31.00%
11%—19% $684 $516 -24.61%
gt _ jth $637 $395 -38.00% “29.68%
4578 $585 $339 -42.04%
*_ 3" $433 $322 -25.69%
Paralegal $189 $157 -16.76%
Laffey Matrix | AverageofLaw | LSI Laffey LSI Laffey Average
Experience Firm Averages Matrix Matrix Difference
Levels (from PL Ex. 48, p.1) | (2016-2017 Rates) | Greater (Less)
20% $842 $826 -1.91%
11— 19% $684 $686 0.23%
git 108 $637 $608 -4.56% 9.36%
aft _ im $585 $421 -28.02%
1*— 3" $433 $342 -21.07%
Paralegal $189 $187 -0.85%

 

 

 

 

 

 

 

18. The market data evidence also includes evidence of billing rates from periods prior

to 2015. Pl. Ex. 1, para. 90. The pre-2015 data show rates that are more closely aligned with the

 

20+ level, we used the USAO Matrix 2015-2017 rate of $581, which is the highest rate from that
matrix applicable to someone at the 20+ level. See Pl. Exs. 47-49.

* In DL, the United States argued that this market data wrongly included a rate from an attorney
practicing in Delaware. The United States was right, but that error decreased the average market
rates for attorneys working on complex federal litigation in the District. Excluding that attorney’s
rate of $675 per hour would increase the average market rate for such attorneys with 20 or more
years of experience from $842 to $850. See Pl. Ex. 124, para. 4. In short, that error resulted in
slightly understating the percentage by which the USAO Matrix 2015-2016 and the LSI Laffey
Matrix are below market.
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rates in the LSI Laffey Matrix than the rates in the USAO Matrix 2015-2017. See Pl. Exs. 40-42,

50-53.

19. The pre-2015 data includes 2012-2013 data of rates for complex federal litigation,
referred to as the Valeo rates data, that was submitted by Arent Fox in Biery v. United States, Fed.
Cl. Civ. No. 07-693. The Valeo rates data is for complex federal litigation in Washington, D.C.°
See Pl. Ex. 53, para. 18 and Exhibit E. The Valeo rates data provides another set of data based on
complex federal litigation against which to assess the rates in the LSI Laffey Matrix and the USAO
Matrix 2015-2017. Pl. Ex. 78, para. 21. Plaintiffs’ Exhibit 79 updates the 2012 and 2013 Valeo
rates data to the present using the PPI-OL (the inflation index now used by the USAO) and the
experience levels from both the USAO Matrix 2015-2017 and the Laffey Matrix. Pl. Ex. 70, paras.
13-18; Pl. Ex. 78, paras. 19-21. The updated Valeo rates exceed the LSI Laffey Matrix rates. PL.
Ex. 79, pp. 2-3; PL Ex. 78, para. 20.

20. _— Plaintiffs’ Exhibits 17, 51-56, 61, and 65-68 are affidavits from complex federal
litigators in the Washington, D.C., marketplace who are familiar with the prevailing market rates
for complex federal litigation. Each of these affidavits further confirms that the rates in the LSI
Laffey Matrix are consistent with or below prevailing market rates for complex federal litigation.
For example, Steven K. Davidson of Steptoe & Johnson LLP states that in his expert opinion the
LSI Laffey Matrix “is a more accurate schedule of hourly rates” and is “consistent with the
prevailing market rates.” Pl. Ex. 54, paras. 1, 16,22. Nathan Lewin, whose rate was included in

the 1981-1982 Laffey Matrix, testifies that his current rate for complex federal litigation is $750

 

° The Valeo data is available from Valeo Partners LLC and presents rates “actually billed to a
client or determined by a court—they are not surveyed, self-reported or estimated.” Pl. Ex. 53,
para. 18; see also https://www.valeopartners.com/legal/valeo-database (last visited August 23,
2017).
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(PL. Ex. 67, para. 12). His rate is better aligned with the LSI Laffey Matrix rate than the USAO
Matrix 2015-2017 rate for a litigator in the 20+ experience level.
21. In Salazar v. District of Columbia, 809 F.3d 58, 64-65 (D.C. Cir. 2015), the court
of appeals stated:
Like the fee applicants in Covington [v. District of Columbia], 57 F.3d [1101] at 1110
[(D.C. Cir. 1995)], Plaintiffs submitted “a great deal of evidence regarding prevailing
market rates for complex federal litigation.” * * * With these numbers and submissions in

the record, the district court’s point that “the LSI-adjusted matrix is probably a conservative
estimate of the actual cost of legal services in this area,” does not appear illogical.

The evidence presented in DL, and described and presented here, is the same type of evidence that
was presented in Salazar, and, with the addition of the Valeo rates data (Pl. Ex. 79), far exceeds
the evidence presented in Salazar. The evidence of market rates for complex federal litigation in
the District of Columbia assembled by TPM includes evidence of rates from 78 firms. See Pl. Ex.
124, para. 3.

FIRM SIZE

22. The United States and the District of Columbia frequently argue that the LSI Laffey
Matrix rates reflect the rates of large firms and are too high for smaller firms. Aside from the fact
that drawing such a distinction is contrary to the holdings in Blum v. Stenson, 465 U.S. 886, 892-
895 (1984), Save Our Cumberland Mountains, supra, 857 F.2d at 1524-1525, and Makray v. Perez,
159 F. Supp. 3d 25, 52-53 (D.D.C. 2016), the market for complex federal litigation is a single
marketplace comprised of law firms of different sizes, all of which compete against each other.
Pl. Ex. 27, para. 20; Pl. Ex. 28, para. 16; Pl. Ex. 29, para. 11. It is not divided between large and
small firms. Jbid.

23. As addressed above (para. 6), the Laffey Matrix is a composite of the rates from the
complex federal litigation market and thus includes firms of all sizes. Each of the firms in the

marketplace compete against each other to represent those who require the services of litigators

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experienced in complex federal litigation. Pl. Ex. 28, para. 16; Pl. Ex. 29, para. 11; see Pl. Ex. 17,
para. 6. This can be seen from the original Laffey Matrix data. In that data, Nathan Lewin, a 1960
graduate with the boutique firm of Miller, Cassidy, Larroca and Lewin,'° had a rate of $250. PL
Ex. 30, para. 16(e); Pl. Ex. 31, p. 3; PL Ex. 67, paras. 1-2, 4. His hourly rate of $250 is among the
highest rates in the data underlying the Laffey Matrix. Only partners at Caplin & Drysdale had a
higher rate ($300) and senior partners at Dickstein, Shapiro & Morin had the same rate. Pl. Ex.
31. By comparison, Daniel A. Rezneck, then of Arnold & Porter, who compiled the data and
created the Laffey Matrix, had an hourly rate of $200. Pl. Ex. 30, paras. 1, 9; Pl. Ex. 31, p. 1.

24. Mr. Lewin explained in his affidavit in DL that the size of his firm and its overhead
were irrelevant in setting its hourly rates. Pl. Ex. 67, paras. 7, 10. He also explained that he
adjusted his hourly rate upward to account for general yearly increases as he moved from 35-
attorney Miller Cassidy to 2-attorney Lewin & Lewin. Pl. Ex. 67, para. 8.

25. | Bruce MacEwen, an expert regarding the legal market, who is both familiar with
the Washington, D.C., legal market, as well as the national legal market, states that firm size is
irrelevant to the setting of hourly rates. Pl. Ex. 29, para. 12; see also Pl. Ex. 27, para. 20; PL. Ex.
28, para. 17; Pl. Ex. 67, paras. 8-9; Pl. Ex. 17, para. 6. He also states that overhead is irrelevant to
the setting of rates. Pl. Ex. 29, para. 12; see also Pl. Ex. 28, para. 17; Pl. Ex. 67, para. 10.

DISCOUNTS

26. The United States and the District of Columbia frequently argue that the LSI Laffey
Matrix rates are too high and that the USAO Matrix 2015-2017 or USAO Laffey Matrix rates are
more reflective of the market due to discounts. They claim that the discounts range from 6 to 10%.

They are correct that many corporations or other entities with bargaining power get discounts on

 

10 At the time, Miller Cassidy had 17 attorneys. Pl. Ex. 32, pp. 1654B-1656B.

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standard rates charged by their attorneys. See Second Affidavit of Bruce MacEwen, April 20,
2017, Pl. Ex. 73, paras. 6-7, 17. In contrast, many plaintiffs, such as the plaintiffs here and in
Salazar and DL, are not the types of clients with bargaining power who pay bills monthly and
negotiate discounts. See id., para. 6. Quite the contrary, in a contingent fee situation, instead of
extending discounts to clients, firms demand a risk premium such that their compensation typically
exceeds the traditional hours times rates compensation method. /bid.; see also Pl. Ex. 37, para. 8.
Even though it is unlikely that a discount could be obtained, the data above show that the LSI
Laffey Matrix rates are 9.36% below market and thereby already incorporate a discount.

Pursuant to 28 U.S.C. 1746, I declare under penalty of perjury that the foregoing is true

and correct. Executed on August 23, 2017.

/s/Carolyn Smith Pravlik
CAROLYN SMITH PRAVLIK.

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Washington, DC 20005-4632
(202) 204-8475

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LIST OF ACCOMPANYING EXHIBITS FROM
DL v. DISTRICT OF COLUMBIA, 05-cy-1437(RCL)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DL
Exhibit ee Description
No. f
1 537-1 Affidavit of Bruce J. Terris
17 537-17 | Affidavit of Cyrus Mehri
U.S. Department of Commerce, Bureau of Labor Statistics, Legal
22 537-22 .; ;
Services Component of the Consumer Price Index
3 537-23 Laffey Matrix Updated Using Legal Services Index (“LSI Laffey
Matrix”)
24 537-24 | USAO Matrix 2015-2017
25 537-25 | USAO Laffey Matrix 2014-2015
26 537-26 | Affidavit of Carolyn Smith Pravlik
27 537-27 | Declaration of Michael Kavanaugh
28 537-28 | Affidavit of Michael P. Downey
29 537-29 | Affidavit of Bruce MacEwen
30 537-30 | Affidavit of Daniel Rezneck, filed in Laffey v. Northwest Airlines
31 537-31 | Laffey Matrix Data from Laffey Affidavit of Daniel Rezneck
2 1982 Martindale-Hubbell Law Directory Listings for Laffey Matrix
3 537-32 |
Firms (excerpted)
33 537-33 Declaration of Joseph A. Yablonski, filed in Broderick v. Ruder,
No. 86-1834 (D.D.C.)
34 537-34 | Yablonski, Both & Edelman Website
36 537-36 Testimony of Ward Bower from Palmer v. Rice (excerpted) with
Biography from Altman Weil, Inc., website
37 537-37 | Affidavit of David N. Webster, filed in Chewning v. Edwards
3 ALM Legal Intelligence, 2010 Survey of Law Firm Economics
8 537-38
(excerpted)
2012-2013 Range of Firm Billing Rates Table: Comparison of LSI
40 537.49 | Laffey Plaintiffs’) Updated Laffey Matrix, All-Items CPI (USAO)

 

 

Updated Laffey Matrix, and Washington, D.C. Rates for 2012-
2013, filed in Salazar v. District of Columbia, No. 93-452 (D.D.C.)

 

 
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DL
Exhibit es. Description
No. :

4] 537-41 2012-2013 Average Law Firm Billing Rates Table, filed in Salazar
v. District of Columbia, No. 93-452 (D.D.C.)
2012-2013 Percentage Difference in Billing Rates Tables: All-

42 537-42 Items CPI Laffey Update v. Law Firm Average and LSI
(Plaintiffs’) Laffey Update v. Law Firm Average, filed in Salazar v.
District of Columbia, No. 93-452 (D.D.C.)
Thomson Reuters/Westlaw Legal Billing Report, August 2015

43 537-43
(excerpted)

44 537-44 Thomson Reuters/Westlaw Legal Billing Report, December 2015
(excerpted)

45 537-45 Thomson Reuters/Westlaw Legal Billing Report, May 2016
(excerpted)

46 537-46 U.S. Department of Commerce, Bureau of Labor Statistics, All-
Items, Regional Component of the Consumer Price Index
2015-2016 Range of Firm Billing Rates Table: Comparison of LSI

47 537-47 | Laffey Matrix, USAO Matrix 2015-2017, USAO Laffey Matrix,
and Washington, D.C. Rates for 2015-2016
2015-2016 Average Firm Billing Rates Table: Comparison of LSI

48 537-48 | Laffey Matrix, USAO Matrix 2015-2017, USAO Laffey Matrix,
and Washington, D.C., Rates Data for 2015-2016

49 537-49 2015-2016 Percentage Difference between 2015-2016 Market Data
and 2016-2017 Rate Matrices

50 537-50 Declaration of Mark N. Bravin, filed in McKesson Corp. v. Islamic
Republic of Iran, No. 82-0220 (D.D.C.) (excerpted)
Declaration of Julie Goldsmith Reiser, filed in Policemen’s Annuity

51 537-51 | and Benefit Fund of the City of Chicago v. Bank of America, N.A.,
No. 12-02865 (S.D.N.Y.) (excerpted)

52 537-52 Declaration of Paul D. Clement, filed in Osterweil v. Bartlett, No.
09-825 (N.D.N.Y.)
Declaration of Mark F. (Thor) Hearne II, filed in Biery v. United

53 537-53 | States, No. 07-693L (Fed. Cl.), with Exhibit A (excerpted) and
Exhibit E

54 537-54 Declaration of Steven K. Davidson, filed in Makray v. Perez, No.

 

 

12-0520 (D.D.C.), with Exhibits A and B

 

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Exhibit Ee Description
No,
No.
55 537-55 Supplemental Declaration of Steven K. Davidson, filed in Makray
” v. Perez, No. 12-0520 (D.D.C.)

56 537-56 Declaration of John P. Relman, filed in Makray v. Perez, No. 12-
0520 (D.D.C.)

57 537-57 Declaration of Megan Cacace, filed in Hardin v. Dadlani, No. 11-
02052 (D.D.C.)
Landowners’ Memorandum in Support of Motion for Attorney

58 537-58 | Fees and Litigation Expenses, filed in Campbell v. United States,
No. 13-00324 (Fed. Cl.) (excerpted)
E-mail from Meghan Largent to Carolyn Smith Pravlik (Sept. 20,

59 537-59
2016)

60 537-60 Declaration of Cyrus Mehri, filed in Brown v. Medicis
Pharmaceutical Corp., No. 13-01345 (D.D.C.) (excerpted)
Declaration of David K. Colapinto, filed in Citizens for

61 537-61 | Responsibility and Ethics in Washington v. U.S. Department of
Justice, No. 12-1491 (D.D.C.), with attachment

62 537-62 Declaration of Jeffrey L. Light, filed in Westfahl v. District of
Columbia, No. 11-2210 (D.D.C.)

63 537-63 Fee Affidavit of Tamara L. Miller, filed in Westfahl v. District of
Columbia, No. 11-2210 (D.D.C.)

64 537-64 Declaration of Jessica Ring Amunson, filed in Prunty v. Vivendi,
No. 14-02073 (D.D.C.), with Exhibit A (excerpted)

65 537-65 Affidavit of Robert Corn-Revere, filed in Young v. Sarles, No. 14-
1203 (D.D.C.)

66 537-66 | Affidavit of Anthony T. Pierce

67 537-67 | Affidavit of Nathan Lewin

68 537-68 | Affidavit of Barry Coburn

70 566-3 | Second Affidavit of Carolyn Smith Pravlik

73 566-6 Second Affidavit of Bruce MacEwen

74 566-7 _| Affidavit of Robert Mattern

78 566-11 Second Declaration of Michael Kavanaugh

79 566-12 | Update of Valeo Rates Data from Plaintiffs’ Exhibit 53

 

 

 

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Exhibit ae Description
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81 566-14 2011 ALM Legal Intelligence Survey of Law Firm Economics
(2011 ALM SLFE) (excerpt)

82 566-15 | 2011 ALM SLFE Questionnaire

83 566-16 | 2011 ALM SLFE Instructions

84 566-17 | Rates Table from 2011 ALM Survey relied upon by Dr. Malowane

85 566-18 Email from Chad Copeland with 2011 ALM Survey page relied
upon by Dr. Malowane, March 7, 2017
Email from Carolyn Smith Pravlik requesting materials from 2011

86 566-19 | ALM Survey supporting statements by Dr. Malowane, March 7,
2017

87 566-20 Email from Chad Copeland reporting no further documents relied
upon by Dr. Malowane, March 10, 2017

88 566-21 Email from Chad Copeland reporting that the page from the 2011
ALM SLFE is a custom report, March 24, 2017
FOIA Request for 2011 ALM SLFE data underlying USAO Matrix

89 566-22
2015-2017

90 566-23 | DOJ Response to FOIA Request

91 566-24 | 2011 Materials from the DOJ Response to the FOIA Request
Emails with ALM Legal Intelligence regarding the scope of the

92 566-25 | geography for the Washington, D.C. metro area as used in the 2011
ALM SLFE custom report relied upon by Dr. Malowane
Email from Todd Gluckman requesting materials related to the

95 566-28 | District’s fee opposition, including materials relied upon by Dr.
Malowane, February 21, 2017

96 566-29 2014 ALM Legal Intelligence Survey of Law Firm Economics
(2014 ALM SLFE) (excerpt)

97 566-30 | 2014 ALM SLFE Questionnaire

98 566-31 | 2014 ALM SLFE Instructions

106 566-39 Affidavit of Dr. Michael Kavanaugh, Salazar v. District of
Columbia, Civ. No. 93-452 (GK), ECF No. 1587-3

108 566-41 Email from Chad Copeland related to data relied upon by Dr.

 

 

Malowane, April 10, 2017

 

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115 571-7 Affidavit of Dr. Michael Kavanaugh, April 25, 2012

121 571-13 U.S. Department of Labor Program Highlights, The 1998 CPI
Revision: Changes in Available Data Series

122 571-14 U.S. Census Bureau, Metropolitan Areas and Components, 1990
(excerpt)

123 571-15 U.S. Census Bureau, Metropolitan Areas and Components, 1999
(excerpt)

124 571-16 | Third Affidavit of Carolyn Smith Pravlik

 

 

 

 
